Case:18-14487-KHT Doc#:71 Filed:10/24/18              Entered:10/24/18 15:51:41 Page1 of 4



                         UNITED STATES BANKRUPTCY COURT

                                  DISTRICT OF COLORADO
In Re:                                    )
                                          )
DERRICK J. MARTIN, JR.                    )    Case No. 18-14487-KHT
SSN: XX-XXX-1032                          )
                                          )    Chapter 7
Debtor.                                   )

  TRUSTEE’S SECOND STIPULATED AND UNOPPOSED MOTION TO EXTEND
  DEADLINE TO FILE COMPLAINT OBJECTING TO DISCHARGE OF THE
                          DEBTOR

         David V. Wadsworth, chapter 7 trustee, and the Debtor Derrick J. Martin, Jr., by and
through their undersigned counsel, for their Second Stipulated Unopposed Motion to Extend
Deadline To File Complaint Objecting To Discharge of The Debtor, state as follows:
         1.     Derrick J. Martin, Jr. (“Debtor”) filed a voluntary petition under chapter 7 on
May 23, 2018 (“Petition Date”).
         2.     David V. Wadsworth is the duly qualified and acting trustee (“Trustee”) of the
debtor’s chapter 7 bankruptcy estate (“Estate”).
         3.     The Debtor’s initial 11 U.S.C. § 341 Meeting of Creditors occurred on June 27,
2018, and was continued to and concluded on July 9, 2018.
         4.    The present deadline for parties in interest to file a Complaint objecting to the
Debtor’s discharge pursuant to 11 U.S.C. § 727 is October 26, 2018 (having been extended
previously from August 27, 2018) (“Discharge Complaint Deadline”).
         5.    The Debtor, a former NFL football player who earned millions of dollars over the
course of his professional football career, has formed and operated several Colorado limited
liability companies since 2013. He has also engaged in the transfer of several assets either held
in his name or in the referenced limited liability companies prior to the Petition Date. Many of
those limited liability companies commence with the words and moniker “Two Rings”,
signifying the Debtor’s two Super Bowl rings the Debtor earned while playing in the NFL.
         6.    On August 1, 2018, the Trustee filed his Motion for Turnover, seeking numerous
financial records and physical property in the Debtor’s possession which are critical to the
Trustee’s administration of the estate. The Trustee has also sought similar information from a
number of third-parties, via Fed.R.Bankr.P. 2004.
Case:18-14487-KHT Doc#:71 Filed:10/24/18              Entered:10/24/18 15:51:41 Page2 of 4



       7.      The Debtor initially objected to the Motion for Turnover (“Turnover Motion”).
Thereafter, the parties entered into a Stipulation whereby the Debtor withdrew his Objection to
the Turnover Motion and agreed to comply with its terms by September 28, 2018.
       8.      The Debtor provided some documents in connection with the Turnover Motion
(“Response”), but failed to verify his Response and provide numerous documents which were
the subject of the Turnover Motion. The Debtor and the Trustee are attempting to work through
those issues and provide the Debtor an opportunity supplement his Response prior to seeking
further Court relief.
       9.      To that end, the parties have agreed that the Debtor will supplement and verify the
Response to the Motion for Turnover by November 9, 2018. Given this situation, the Trustee
requires additional time to obtain, review and evaluate the financial records which he expects the
Debtor to produce. This possible course of action was referenced in the Trustee’s original
Unopposed Motion to Extend Time to Object to Discharge (see, ¶10, Unopposed Motion).
       10.      Predicated on these facts, the Debtor and the Trustee hereby stipulate and agree
that the Discharge Complaint Deadline for the Trustee and the Office of the United States
Trustee, shall be further extended through and including December 1, 2018.           The Trustee
requests the Court enter an Order approving of this Stipulated Motion without the need for
notice, as the Debtor has agreed to this extension, and no other party will be prejudiced by
granting the parties the requested relief.
        WHEREFORE, the chapter 7 trustee respectfully request this Court enter an order, a
proposed form of which is attached hereto, granting the relief requested herein, further extending
for the Trustee and the Office of the United States Trustee the Discharge Complaint Deadline
from October 26, 2018 to December 1, 2018, and granting such further and additional relief as
the Court deems just and proper.




                                                2
Case:18-14487-KHT Doc#:71 Filed:10/24/18    Entered:10/24/18 15:51:41 Page3 of 4




      Dated: October 24, 2018     SPENCER FANE LLP

                                  By:      /s/ David M. Miller_____
                                           David M. Miller, #17915
                                           1700 Lincoln Street, Suite 2000
                                           Denver, CO 80203
                                           Ph. (303) 839-3800
                                           Fax (303) 839-3838
                                           e-mail: dmiller@spencerfane.com

                                  ATTORNEYS FOR DAVID V. WADSWORTH,
                                  TRUSTEE

                                  ALLSTATE LAW CENTER


                                  By:      /s/ Lawrence R. Hill ____
                                           Lawrence R. Hill, #17447
                                           12835 East Arapahoe Road,
                                           Tower I - Suite 200
                                           Centennial CO 80112
                                           Ph. (720) 500-3333
                                           e-mail: lawrenceh@allstatelawcenter.com

                                  ATTORNEYS FOR DEBTOR




                                     3
Case:18-14487-KHT Doc#:71 Filed:10/24/18              Entered:10/24/18 15:51:41 Page4 of 4




                                CERTIFICATE OF SERVICE

        The undersigned certifies that on October 24, 2018, I served by prepaid first class mail a
copy of the TRUSTEE’S SECOND STIPULATED AND UNOPPOSED MOTION TO
EXTEND DEADLINE TO FILE COMPLAINT OBJECTING TO DISCHARGE OF THE
DEBTOR and proposed order on all parties against whom relief is sought and those otherwise
entitled to service pursuant to the FED. R. BANKR. P. and these L.B.R. at the following addresses:

US Trustee
Byron G. Rogers Federal Bldg.
1961 Stout St., Ste. 12-200
Denver, CO 80294-1961

Derrick J. Martin, Jr.
23593 E. Chenengo Place
Aurora, CO 80016-5955

Lawrence R. Hill, Esq.
12835 E. Arapahoe Road
Tower I, Suite 200
Centennial, CO 80112

Dustin J. Klein
1827 Federal Blvd.
Denver, CO 80204


                                             s/ Nancy L. Schacht
                                             Nancy L. Schacht




                                                4
